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                     UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS

 CINDY PAPPERT, WILLIAM MARTIN, and )
 CATHERINE FOSTER, individually and on    )
 behalf of all others similarly situated, )
                                          )
                 Plaintiffs,              )
                                          ) Case No. 1:24-cv-04835
 v.                                       )
                                          )
 CONAGRA BRANDS, INC.,                    )
                                          )
                 Defendant.               )
                                          )
______________________________________________________________________________

 CONAGRA BRANDS, INC.’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
    ITS MOTION TO DISMISS FIRST AMENDED CLASS ACTION COMPLAINT
______________________________________________________________________________

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       Defendant Conagra Brands, Inc. (“Conagra”), respectfully requests that the Court consider the

full versions of Exhibits A through D (attached hereto) in connection with Conagra’s Motion to

Dismiss Plaintiffs’ First Amended Class Action Complaint (Dkt. 6) (“FAC”). These Exhibits are all

central to Plaintiffs’ allegations against Conagra and whose authenticity is not in question. The Court,

therefore, may take judicial notice of them under Federal Rule of Evidence 201. In the alternative, the

Court may also consider Exhibits A through D under the incorporation by reference doctrine because

Plaintiffs’ FAC expressly refers to and relies on these sources to assert Plaintiffs’ claims against

Conagra.

       Plaintiffs’ FAC expressly refers to and relies on the documents at issue in this Request for

Judicial Notice. Specifically, Plaintiffs’ FAC identifies the following:

       1. The Product Labels (the “Labels”). The FAC challenges the labeling found on ten Products,
          which the FAC identifies at ¶ 27. In addition, the FAC includes the front labels of two
          Products and one back label as exemplars at paragraphs 29 and 32. True and correct copies
          of all the Labels are attached hereto as exhibits Exhibit A-D. Specifically:

               •   Exhibit A contains the front product labels for Van de Kamp’s Products: Crispy
                   Battered Fillets, Crispy Haddock Fillets, Crunching Breaded Fillets, and Beer
                   Battered Fillets;

               •   Exhibit B contains the front product labels for Mrs. Paul’s Products: Crispy
                   Battered Fillets, Crunchy Breaded Fillets, Beer Battered Fillets, and Lightly
                   Breaded Haddock Fillets;

               •   Exhibit C contains the front and back product label for Van de Kamp’s Fish Sticks;

               •   Exhibit D contains the front and back product label for Mrs. Paul’s Fish Sticks.

       The information contained in Exhibits A through D is “central to Plaintiff[s’] allegations” by

their “reference[ ] in the complaint” or otherwise are from resources of which the Court may take

judicial notice. The Court, therefore, may properly consider them in connection with Conagra’s motion

to dismiss. See, e.g., Strautins v. Trustwave Holdings, Inc., 27 F. Supp. 3d 871, 880 n.13 (N.D. Ill.

2014) (incorporation by reference).



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                                         LEGAL STANDARD

        There are two exceptions to the general rule that a district court should consider only the

complaint: (a) judicial notice; and (b) incorporation by reference. Olson v. Bemis Co., 800 F.3d 296,

305 (7th Cir. 2015). Under both exceptions, the Court may properly consider the Exhibits without

converting Conagra’s Motion to Dismiss into a motion for summary judgment.

        First, under Federal Rule of Evidence 201(b), a court may take judicial notice of a fact that is

not subject to reasonable dispute because it “can be accurately and readily determined from sources

whose accuracy cannot reasonably be questioned.” The scope of Rule 201(b) also extends to publicly

available documents whose accuracy cannot be contested, particularly where the document is quoted

or referenced in a complaint. See, e.g., Bell Atl. Corp. v. Twombly, 550 U.S. 544, 568 n.13 (2007)

(explaining that the district court was entitled to take judicial notice under Rule 201 of the full contents

of an article partially quoted in a complaint); Global Mat’l Techs., Inc. v. Dazheng Metal Fibre Co.

Ltd., 2013 WL 80369, at *3 (N.D. Ill. Jan. 7, 2013) (stating that judicial notice is appropriate for “facts

that are ‘not subject to reasonable dispute’ because they are either ‘generally known within the . . .

court’s territorial jurisdiction,’ or ‘can be accurately and readily determined from sources whose

accuracy cannot reasonably be questioned’”) (quoting Fed. R. Evid. 201(b)); ChampionsWorld LLC

v. U.S. Soccer Fed’n, Inc., 726 F. Supp. 2d 961, 965 (N.D. Ill. 2010) (judicially noticing “public

documents whose accuracy is easily verifiable and not subject to reasonable dispute”).

        Second, and in the alternative, the Court may consider materials outside the four corners of the

FAC under the incorporation by reference doctrine. Specifically, when plaintiffs have referred to a

document in the complaint and the document is central to the claims at issue, the court may consider

it as part of the pleadings. Olson, 800 F.3d at50 305. “A court deciding a motion to dismiss under Rule

12(b)(6) may consider documents that are attached to a complaint or that are central to the complaint,




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even if not physically attached to it.” Cmty. Bank of Trenton v. Schnuck Mkts., Inc., 887 F.3d 803, 810

(7th Cir. 2018) (collecting cases).

                                             ANALYSIS

       The Court should consider Exhibits A through D because they are all referenced and relied on

in Plaintiffs’ FAC, 1 are central to Plaintiffs’ claims, or are not in reasonable dispute. See, e.g.,

Robinson v. Walgreen Co., 2022 WL 204360, at *2 n.3 (N.D. Ill. Jan. 24, 2022) (on a motion to

dismiss, the court considered the product label because it was “referenced in the complaint”); Sneed

v. Ferrero U.S.A., Inc., 656 F. Supp. 3d 777, 784 (N.D. Ill. 2023) (taking judicial notice of product

packaging “[b]ecause it is easily ascertained whether the images are accurate representations of the

product and its packaging [and] they are not subject to reasonable dispute”).

       Here, Exhibits A through D all fit comfortably within a category of documents that courts will

consider on a motion to dismiss, either under the incorporation by reference doctrine or as subject to

judicial notice. They are all central to Plaintiffs’ claims by their reference in the operative FAC or

otherwise are from resources of which the Court may take judicial notice. Whether the Court chooses

to judicially notice them or concludes they are incorporated by reference, it should properly consider

them in evaluating the sufficiency of the allegations in the FAC.

                                          CONCLUSION

       Accordingly, Conagra respectfully requests that the Court take judicial notice of Exhibits A

through D, or in the alternative, deem the Exhibits incorporated by reference in the FAC and consider

them in connection with Conagra’s Motion to Dismiss.




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  Specifically, the FAC expressly identifies the documents at issue in Exhibits A through D. See, e.g.,
FAC, Dkt. 6, at ¶¶ 29, 32 (identifying exemplar labels of the Products challenged in the case); ¶ 27
(identifying all products at issue in the complaint).


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   Respectfully submitted this 23rd day of August, 2024.



                                     /s/ Tobin J. Taylor
                                     Tobin J. Taylor

                                     Counsel for Defendant Conagra Brands, Inc.




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